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     Attorney for Defendant
 5   MIGUEL SEPULVEDA FELIX
 6

 7                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,            ) Case No.: 1:09-CR-0317-AWI
10                                        )
               Plaintiff,                 ) ORDER RE: EXONERATION OF BOND
11                                        ) AND RECONVEYANCE OF REAL
         vs.                              ) PROPERTY
12                                        ) Deed of Trust 2009-0088603-00
     MIGUEL SEPULVEDA FELIX,              )
13                                        )
               Defendant                  )
14                                        )
15

16

17   On August 25, 2009 a Deed of Trust No. 2009-0088603-00 and
18   Promissory Note were posted by Francisco Felix and Josefina
19   Felix on behalf of Defendant, Miguel Sepulveda Felix. On January
20   23, 2013, defendant self-surrendered to the custody of the
21   Federal Correctional Institution Sheridan, Oregon. At this time,
22   Request is hereby made that the following property be reconveyed
23   as follows: Francisco Felix and Josefina Felix, Husband and Wife
24   as Joint Tenants.
25   Dated this February 5, 2013
                                                        /s/ ROBERT L. FORKNER __
26                                                      ROBERT L. FORKNER
                                                        Attorney for Defendant
27

28
                          [PROPOSED] ORDER OF RECONVEYANCE - 1
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 9   UNITED STATES OF AMERICA,                  ) Case No.: 1:09-CR-0317-AWI
                                                )
10                Plaintiff,                    ) ORDER RE: EXONERATION OF BOND
                                                ) AND RECONVEYANCE OF REAL
11         vs.                                  ) PROPERTY
                                                ) Deed of Trust 2009-0088603-00
12   MIGUEL SEPULVEDA FELIX,                    )
                                                )
13                Defendant                     )
                                                )
14

15

16                                            ORDER
17   Accordingly, IT IS HEREBY ORDERED that the property bond in the
18   above-captioned case be exonerated and title to the real
19   property reconveyed to the owners, FRANCISCO and JOSEFINA FELIX.
20   It is further ordered that all correspondence regarding
21   reconveyance of the posted property be sent to Francisco and
22   Josefina Felix at the address previously provided to the court.
23

24

25
     IT IS SO ORDERED.
26

27   Dated: February 12, 2013
                                             SENIOR DISTRICT JUDGE
28
                                                      DEAC_Signature-END:




                                [PROPOSED] ORDER OF RECONVEYANCE - 2
